Case 2:19-cv-07271-GRB-LGD Document 39-27 Filed 01/03/23 Page 1 of 42EXHIBIT
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                                                                     1
              UNITED STATES DISTRICT COURT                           2   A P P E A R A N C E S:
              EASTERN DISTRICT OF NEW YORK                           3   STEVEN J. MOSER, P.C.
                               INDEX# 15-CV-3270                     4   Attorneys for Plaintiffs
              --------------------------------------------x
                                                                     5      3 School Street
              MARIE M. JOSIANNE SAJOUS, on behalf of herself
                                                                     6      Glen Cove, Neew York 11542
              and others similarly situated,
                               Plaintiffs,
                                                                     7   BY: STEVEN J. MOSER, ESQ.
                           -against-                                 8
              SOUTHERN WINE & SPIRITS OF NEW YORK, INC. and          9   KORSHAK, KRACOFF, KONG & SUGANO, L.L.P.
              WINE, LIQUOR & DISTILLERY WORKERS LOCAL 1-D,          10   Attorneys for Defendants-
                               Defendants.                          11      Southern Wine & Spirits of New York, Inc.
              ---------------------------------------------x        12      1640 South Sepulveda Blvd.
                                                                    13      Los Angeles, California 90025
                      1225 Franklin Avenue                          14   BY: KEITH R. THORELL, ESQ.
                      Garden City, New York                         15
                                                                    16   O'CONNOR & MANGAN, P.C.
                      October 7, 2016
                                                                    17   Attorneys for Defendants-
                      9:38 a.m.
                                                                    18   Wine, Liquor & Distillery Workers Local 1-D
                      Deposition a Non-Party Witness
                                                                    19      271 North Avenue
              MARIA SUAREZ, pursuant to Subpoena, before            20      New Rochelle, New York 10801
              Robert S. Barletta, a Notary Public of the            21   BY: J. WARREN MANGAN, ESQ.
              State of New York.                                    22
                                                                    23
                                                                    24
                                                                    25

                                                           Page 2                                                      Page 4
          1                                                          1                Suarez
          2            STIPULATIONS                                  2    M A R I A S U A R E Z, called as a
          3                                                          3     witness, having been duly sworn by a Notary
          4                                                          4     Public, was examined and testified as
          5               IT IS HEREBY STIPULATED AND                5     follows:
          6       AGREED by and between the attorneys                6
          7       for the respective parties herein, that the        7     EXAMINATION BY
          8       filing, sealing and certification of the           8     MR. MOSER:
          9       within deposition be waived.                       9         THE REPORTER: Please state your full
         10                                                         10      name and address for the record.
         11              IT IS FURTHER STIPULATED AND               11         THE WITNESS: Maria Suarez. 515 Green
         12       AGREED that all objections, except as to the      12      Grove Avenue, Uniondale, New York 11553.
         13       form of the question, shall be reserved to        13         MR. MOSER: Good morning, Ms. Suarez.
         14       the time of the trial.                            14      Q. We never met before; correct?
         15                                                         15      A. I think I met you once.
         16              IT IS FURTHER STIPULATED AND               16      Q. Really? Do you recall when we met?
         17       AGREED that the within deposition may be          17      A. I think you went with Josie to the
         18       sworn to and signed before any officer            18   office. We were introduced.
         19       authorized to administer an oath with the         19      Q. I am sorry. I did not remember that.
         20       same force and effect as if signed and sworn      20   How are you today?
         21       to before the Court.                              21      A. Good. Thank you.
         22                                                         22         MR. MOSER: Before we begin, there are a
         23                                                         23      couple of things I want to mention. First, I
         24                - oOo -                                  24      understand that testifying under oath at a
         25                                                         25      deposition is not something people look

                                                                                                1 (Pages 1 to 4)
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          1                   Suarez                               1                  Suarez
          2      forward to. If your testimony was not             2     Local 1-D as "the Union."
          3      necessary for this case, we would not bother      3     Q. Do you understand that?
          4      you with it. Secondly, testifying under oath      4     A. Yes.
          5      is not a conversation. Please wait until I        5     Q. Are you employed by Southern?
          6      finish my question entirely, and then pause       6     A. Yes.
          7      slightly, then answer the question because        7     Q. What is your job title?
          8      the court reporter can only take down one         8     A. WMI Administrator.
          9      person speaking at a time.                        9     Q. What does WMI stand for?
         10      Q. Have you ever testified under oath            10     A. Warehouse Management for IT.
         11   before?                                             11     Q. Is it Warehouse Management Information
         12      A. Never.                                        12   Administrator? If you know. I don't want you to
         13      Q. Do you understand that the oath that you      13   guess.
         14   took just a moment ago is the same oath you would   14     A. The thing is, it changed from MSA.
         15   take as if you would be testifying in court in      15   Sorry. WMS. Warehouse Management System now
         16   front of a judge?                                   16   changed to -- I don't know what it stands for.
         17      A. Yes.                                          17   WMI.
         18          MR. MOSER: If you don't understand a         18        MR. MANGAN: Was it WMI all the time,
         19      question of mine, please don't answer it. I      19     that didn't change, or did it change from WMS
         20      would rather you let me know. I will repeat      20     to WMI?
         21      it or rephrase it until you fully understand     21        THE WITNESS: It recently changed.
         22      the question.                                    22     BY MR. MOSER:
         23      Q. Okay?                                         23     Q. From WMS to WMI?
         24      A. Okay.                                         24     A. Yes.
         25          MR. MOSER: I represent Marie Josianne        25     Q. Have your duties changed when your title

                                                       Page 6                                                  Page 8
          1                   Suarez                               1                  Suarez
          2      Sajous.                                           2   changed?
          3      Q. Did you refer to her as Josie?                 3      A. Yes.
          4      A. Yes.                                           4      Q. How did they change?
          5      Q. For the purposes of this deposition, may       5      A. I am not in charge of inventory for
          6   I refer to her as Josie?                             6   management anymore. Somebody else is the
          7      A. Yes.                                           7   inventory control manager. My job
          8          MR. MOSER: I am going to be asking you        8   responsibilities now is more about the entire
          9      questions about a lawsuit brought by Josie        9   warehouse system.
         10      against Southern Wine and Spirits of New York    10      Q. Do you correctly supervise any other
         11      and United Food and Commercial Workers Union     11   employees now?
         12      Local 1-D.                                       12      A. I don't know how to reply to that
         13      Q. Has Southern Wine and Spirits changed         13   question. My team, the Inventory Control Team
         14   its name since December 2013?                       14   still gets work from me, but they report to my
         15      A. Yes.                                          15   boss.
         16      Q. What is Southern Wine and Spirit now?         16      Q. Who is your boss?
         17      A. Southern Glazer's Wine and Spirits.           17      A. John Wilkinson.
         18          MR. MOSER: For the purposes of today's       18      Q. Before they reported to John Wilkinson,
         19      deposition, I am going to represent Southern     19   did they report to you?
         20      -- refer to Southern Wine and Spirits of New     20      A. No.
         21      York and Southern Glazer's as "Southern."        21      Q. When did that change take place?
         22      Q. Is that okay?                                 22      A. To the best of my knowledge, in July
         23      A. Yes.                                          23   this year.
         24          MR. MOSER: I am going to also refer to       24      Q. July of 2016?
         25      the United Food and Commercial Workers Union     25      A. Yes.

                                                                                            2 (Pages 5 to 8)
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          1                  Suarez                                1                  Suarez
          2      Q. Who are the members of the Inventory           2   reporting to you, but reporting to John Wilkinson?
          3   Control Team today?                                  3      A. Kevin Randall.
          4      A. Tatiana Herdosia, Ena Scott, Justin Vegh       4      Q. Who is Kevin Randall?
          5   and Carlos Delarosa (all names phonetic).            5      A. VP of Operations.
          6      Q. Were you responsible for hiring Carlos         6      Q. Can you tell me everything you remember
          7   Delarosa?                                            7   about that conversation you had with Kevin
          8         MR. THORELL: Objection. You can                8   Randall?
          9      answer.                                           9          MR. THORELL: Objection.
         10      A. Partly. I made the selection and my           10      A. It was very brief. He gave me my new
         11   boss had the final word on it.                      11   position. The papers to sign. He just told me
         12      Q. Was Carlos Delarosa recommended or            12   that I would report to the warehouse director now.
         13   referred for that position by the Union?            13      Q. Was your pay reduced at that time as
         14         MR. THORELL: Objection.                       14   well or did your pay remain the same or increased?
         15      A. Not that I know of.                           15      A. It was increased.
         16      Q. Did you interview Carlos Delarosa?            16      Q. How long have you been employed by
         17      A. Yes.                                          17   Southern?
         18      Q. How did it come to be you who                 18      A. Since 2004, December.
         19   interviewed him?                                    19      Q. Before 2004, were you employed by any
         20      A. He applied online for the position.           20   company that was taken over by Southern?
         21      Q. Did any females apply for the position?       21      A. Yes.
         22         MR. THORELL: Objection.                       22      Q. What company was that?
         23      A. I remember only one.                          23      A. Premier Wine and Spirits.
         24      Q. How many males applied for the position?      24      Q. How long were you employed by Premier?
         25         MR. THORELL: Objection.                       25      A. Since April 2000.

                                                      Page 10                                                  Page 12
          1                  Suarez                                1                 Suarez
          2      A. I don't remember correctly, but maybe          2      Q. Before April of 2000, were you employed
          3   five.                                                3   by a company that was taken over by Premier?
          4      Q. Was the female who applied for the             4      A. No, I wasn't.
          5   position interviewed?                                5      Q. In April of 2000, what physical location
          6          MR. THORELL: Objection.                       6   did you work out of?
          7      A. Yes.                                           7      A. The Payroll Department.
          8      Q. Who interviewed her?                           8      Q. Was that in Syosset, New York?
          9      A. I did. I remember interviewing one. I          9      A. Yes.
         10   don't remember how many applied for the position.   10      Q. What address was that?
         11      Q. Who determined who you interviewed?           11      A. 345 Underhill Boulevard.
         12      A. HR.                                           12      Q. Have you been continuously employed at
         13      Q. Are the members of the Inventory Control      13   345 Underhill Boulevard from April of 2000 until
         14   Team today classified as office employees or        14   today?
         15   warehouse employees?                                15      A. No.
         16          MR. THORELL: Objection.                      16      Q. What is at that location?
         17      A. By the Union?                                 17      A. There was an office building and a
         18      Q. Correct.                                      18   warehouse building.
         19      A. They are classified as clerical.              19      Q. The warehouse building, is that located
         20      Q. Why do these employees now report to          20   at 313 or 345?
         21   John Wilkinson?                                     21      A. 345.
         22          MR. THORELL: Objection.                      22      Q. Where is the office located?
         23      A. I don't know.                                 23      A. At 225.
         24      Q. Who informed you of that change that the      24      Q. So just to clarify, two warehouses?
         25   inventory control clerks would no longer be         25      A. Yes.

                                                                                           3 (Pages 9 to 12)
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          1                  Suarez                                1                  Suarez
          2     Q.    One at 225 and one at 345?                   2   was.
          3     A.    Yes.                                         3      Q. Do you recall that at some point in time
          4     Q.    There is an office as well?                  4   you had additional workers in the Inventory
          5     A.    Yes.                                         5   Control Department other than Josie?
          6     Q.    Where is the office located?                 6      A. Yes.
          7     A.    At 313 and at 345.                           7      Q. Who was the first person to be hired
          8     Q.    Describe for me the offices at 345?          8   into the Inventory Control Department after Josie?
          9          MR. THORELL: Objection.                       9      A. I think it was Tatiana Herdosia.
         10       A. A two-story building. Maybe 50 offices       10      Q. She was a woman; correct?
         11   all together.                                       11      A. Yes.
         12       Q. How long did you have the WMS position?      12      Q. After Tatiana was hired, who was next
         13       A. Since July 2016.                             13   hired into the Inventory Control Department?
         14          MR. MOSER: I thought I misunderstood.        14      A. Ena Scott.
         15       Q. Before July of 2016 what was your job        15      Q. Is Ena Scott also a woman?
         16   title?                                              16      A. Yes.
         17       A. Inventory Control Manager.                   17      Q. Did the members of the Inventory Control
         18       Q. When did you first receive the title of      18   Department become members of the Union in December
         19   Inventory Control Manager?                          19   of 2008?
         20       A. July 2007.                                   20      A. I don't know for sure. I don't
         21       Q. When you received that position, was         21   remember.
         22   Josie already working at Southern?                  22      Q. When Ena was hired, was she a Union
         23       A. Yes.                                         23   employee?
         24       Q. How many employees reported to you when      24      A. I don't remember the time, but I think
         25   you first became the Inventory Control Manager in   25   they were all three hired before they joined the

                                                      Page 14                                                  Page 16
          1                 Suarez                                 1                  Suarez
          2   July of 2007?                                        2   Union.
          3         MR. THORELL: Objection. You can                3     Q. We are not sure of precise dates, but
          4      answer.                                           4   Josie, Tati and Ena were all hired before they
          5      A. Only one.                                      5   became Union employees?
          6      Q. Who was that?                                  6     A. Yes, and I think before the fourth one
          7      A. Josie.                                         7   was also hired before joining the Union.
          8      Q. When did Josie stop working for                8     Q. Who was that?
          9   Southern?                                            9     A. I don't know the exact dates.
         10      A. I don't remember.                             10     Q. The fourth one was Vegh?
         11      Q. Do you recall if it was in --                 11     A. Justin Vegh.
         12      A. I remember it was December.                   12     Q. Were you aware that the members of your
         13      Q. Do you know if it was December of 2013?       13   department were going to become Union members?
         14   I don't want you to guess.                          14         MR. THORELL: Objection.
         15      A. I don't remember the year.                    15     A. Yes, I was aware.
         16      Q. Did she resign?                               16     Q. How did you become aware of that?
         17      A. Yes.                                          17     A. Before hearing anything from my team
         18         MR. THORELL: Objection.                       18   members I heard I was included in a conversation
         19      Q. From the time that Josie first began          19   with John Wilkinson and Risley.
         20   reporting to you in July of 2007 until she          20     Q. How did you spell Risley?
         21   resigned, were you her direct supervisor?           21     A. R-i-s-l-e-y. I think the spelling is
         22      A. Yes.                                          22   correct. I am not sure.
         23      Q. When she first reported to you, was she       23     Q. Who was Greg Risley at that time?
         24   a Union employee or non-Union employee?             24     A. VP of Operations.
         25      A. I am not sure, but I don't think she          25     Q. Who was John Wilkinson at that time?

                                                                                         4 (Pages 13 to 16)
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          1                  Suarez                                 1                 Suarez
          2      A. Director of Operations.                         2      A. Yes. I don't remember dates or times.
          3      Q. Was this an in-person conversation?             3   The conversation itself.
          4      A. Yes.                                            4      Q. But is it fair to say at some point in
          5      Q. Where did this conversation take place?         5   time it was your opinion that inventory control
          6      A. One of the conference rooms we used to          6   clerks should be classified as warehouse
          7   have an operations meeting every week.                7   employees?
          8      Q. Tell me everything you remember about           8         MR. MANGAN: Objection.
          9   that conversation.                                    9      A. It was my opinion.
         10      A. Something about they were having               10      Q. What was that opinion based on?
         11   conversations to include my team in the Union so     11      A. Based on basically they work in the
         12   they could drive machinery.                          12   warehouse.
         13      Q. Before they became Union, were they            13      Q. To your knowledge, were the members of
         14   allowed to drive machinery?                          14   the Inventory Control Department, the only Union
         15      A. Sometimes we had a hard time for them          15   members who worked in the warehouse, but did not
         16   performing their job. I think they were allowed      16   have the warehouse classification?
         17   to use scissor lifts only.                           17         MR. THORELL: Objection.
         18      Q. After they became Union, were they             18         MR. MANGAN: Objection.
         19   allowed to use equipment other than scissor lifts?   19         THE WITNESS: Can you repeat the
         20      A. Yes.                                           20      question?
         21      Q. What additional equipment were they            21         (Whereupon, the last question was read
         22   allowed to use after they became Union members?      22      back by the reporter.)
         23      A. Cherry pickers.                                23      A. No, there were more.
         24      Q. When you had that conversation with Greg       24      Q. Who else worked in the warehouse, but
         25   Risley and John Wilkinson, did you have a basic      25   did not have the warehouse classification?

                                                      Page 18                                                   Page 20
          1                 Suarez                                  1                   Suarez
          2   understanding of the classifications in the           2         MR. THORELL: Objection.
          3   contract?                                             3      A. The warehouse admins.
          4         MR. THORELL: Objection.                         4      Q. Besides the warehouse admins and the
          5      A. I had a basic understanding, yes,               5   inventory control clerks, were there any other
          6   because of my job in the Payroll Department.          6   individuals who worked in the warehouse, but did
          7      Q. Was it your understanding there were two        7   not have the warehouse classification?
          8   broad classifications of workers. Office and          8         MR. THORELL: Objection.
          9   clerical employees on the one hand, and warehouse     9      A. Yes.
         10   employees on the other hand?                         10      Q. Who else?
         11      A. Yes.                                           11      A. Receiving clerks.
         12      Q. In that conversation that you had with         12      Q. Are there any other categories of
         13   Greg Risley and John Wilkinson, was there any        13   workers who worked in the warehouse you haven't
         14   discussion whether the members of the Inventory      14   mentioned that did not have the warehouse
         15   Control Department would be classified as            15   classification?
         16   warehouse workers or office and clerical             16         MR. THORELL: Objection.
         17   employees?                                           17      A. Yes, security clerks.
         18         MR. MANGAN: Objection.                         18      Q. Are there any other categories of
         19      A. I don't remember.                              19   workers that worked in the warehouse, but did not
         20      Q. At any time did you discuss with John          20   have the warehouse classification than what you
         21   Wilkinson whether members of the Inventory Control   21   already mentioned?
         22   Department should be classified as warehouse         22         MR. THORELL: Objection.
         23   employees?                                           23      A. I don't know of any others.
         24         MR. MANGAN: Objection.                         24      Q. Now, the members of your department,
         25         MR. THORELL: Objection.                        25   they were allowed to use scissor lifts and cherry

                                                                                          5 (Pages 17 to 20)
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          1                  Suarez                                1                 Suarez
          2   pickers; correct?                                    2      Q. At any time during your employment, did
          3      A. Yes.                                           3   you ever see any clerical employee other than
          4          MR. THORELL: Objection.                       4   members of the Inventory Control Department using
          5      Q. Were they also allowed to use any other        5   cherry pickers?
          6   machinery in the warehouse on an as-needed basis?    6      A. I have not.
          7          MR. THORELL: Objection.                       7      Q. Were you in the warehouse on a regular
          8          MR. MANGAN: Objection.                        8   basis?
          9      A. No.                                            9      A. Yes.
         10      Q. Who gave them permission to use cherry        10      Q. How frequently were you actually in the
         11   pickers?                                            11   warehouse?
         12          MR. THORELL: Objection.                      12         MR. THORELL: Objection.
         13      A. I did.                                        13      A. Average, once a day. 10 to 15 minutes
         14      Q. Who trained them in the use of cherry         14   to and hour. That is average. Sometimes the
         15   pickers?                                            15   entire day during physical inventories. Some
         16          MR. THORELL: Objection.                      16   other times in the office all day maybe.
         17      A. The safety director.                          17      Q. The three women in your department were
         18      Q. Was that a man by the name of Munoz?          18   Tatiana, Ena and Josie; correct?
         19      A. He is now, but before that it was Bill.       19      A. Yes.
         20   I don't remember the name.                          20      Q. Did you ever see any women other than
         21      Q. Was it Bob?                                   21   Tati, Ena or Josie operating a scissor lift?
         22      A. I don't remember.                             22         MR. THORELL: Objection.
         23      Q. The warehouse admins, did they use            23      A. No.
         24   cherry pickers?                                     24      Q. Other than Tati, Ena and Josie, did you
         25      A. No, they don't.                               25   ever see any women at Southern operate a cherry

                                                     Page 22                                                   Page 24
          1                  Suarez                                1                  Suarez
          2      Q. The warehouse admins, did they use             2   picker?
          3   scissor lifts?                                       3         MR. THORELL: Objection.
          4          MR. THORELL: Objection.                       4      A. Do I count?
          5      A. No, they don't.                                5      Q. Yes.
          6      Q. Do they need to use scissor lifts to do        6      A. Yes.
          7   their jobs?                                          7      Q. You yourself used a cherry picker?
          8          MR. THORELL: Objection.                       8      A. Yes.
          9      A. I don't think so.                              9      Q. Were you trained in the use of a cherry
         10      Q. What about receiving clerks? Did              10   picker?
         11   receiving clerks use any machinery to do their      11      A. Yes.
         12   jobs?                                               12      Q. Other than you, Tati, Ena and Josie, did
         13          MR. THORELL: Objection.                      13   you ever see any other woman at Southern use a
         14      A. I don't think so.                             14   cherry picker?
         15      Q. How about security clerks? Do security        15      A. No, I have not.
         16   clerks use scissor lifts or cherry pickers to do    16      Q. Were you issued safety footwear?
         17   their jobs?                                         17      A. Yes.
         18          MR. THORELL: Objection.                      18      Q. Were you issued a safety harness working
         19      A. I don't know.                                 19   at elevations?
         20      Q. Were the members of the Inventory             20      A. Yes.
         21   Control Department the only employees classified    21      Q. Did you undergo safety training with
         22   as clerical who used the cherry pickers?            22   regard to warehouse operations?
         23          MR. THORELL: Objection.                      23      A. Yes.
         24          MR. MANGAN: Objection.                       24      Q. Did all of the members of your
         25      A. I am not sure.                                25   department receive safety shoes?

                                                                                         6 (Pages 21 to 24)
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          1                   Suarez                               1                  Suarez
          2      A. Yes.                                           2      Q. In each rack, how many palettes fit one
          3      Q. Did they receive those safety shoes from       3   on top of the other?
          4   Southern or through Southern's program?              4          MR. THORELL: Objection.
          5      A. Yes.                                           5      A. Average, one per rack.
          6      Q. How did they receive their safety shoes?       6      Q. Do you know how high each rack is?
          7          MR. THORELL: Objection.                       7      A. No, I don't.
          8      A. A truck comes to the company, and they         8      Q. Is the first rack the same height as all
          9   go pick the shoes up, and sign their name on the     9   the other racks?
         10   list already given to the vendors, and take the     10          MR. THORELL: Objection.
         11   shoes.                                              11      A. Sometimes. Not all the time.
         12      Q. Is this the same way you got your safety      12      Q. If you stand by the first rack, is the
         13   footwear?                                           13   first rack higher than you?
         14      A. I think I have gone to the store a            14      A. No, it is not. Sorry. I don't know. I
         15   couple of times. Not gone to the truck.             15   haven't measured myself against the rack.
         16      Q. How were the members of the Inventory         16      Q. Fine. Have there ever been any injuries
         17   Control Department issued safety harnesses?         17   from falls in the warehouse?
         18          MR. THORELL: Objection.                      18          MR. THORELL: Objection.
         19      A. I am not sure what point the safety           19      A. I don't know details, but yes there have
         20   harnesses -- all the safety harnesses were behind   20   been.
         21   the room and everybody went and took one. At one    21      Q. What do you know about an injury from a
         22   point I remember the safety manager coming to the   22   fall in the warehouse?
         23   office and bringing the harnesses for my            23          MR. MANGAN: Objection.
         24   department.                                         24      A. Only what I hear. Somebody fell. No
         25      Q. What is the purpose of the safety             25   more than that.
                                                     Page 26                                                  Page 28
          1                  Suarez                                1                  Suarez
          2   harness?                                             2      Q. Was there a man who fell at Southern?
          3      A. To protect the employee.                       3         MR. THORELL: Objection.
          4      Q. From what?                                     4      A. Yes.
          5      A. Falls.                                         5      Q. How long was he out of work for after he
          6      Q. Is the safety harness attached to some         6   fell?
          7   type of winch or piece of equipment?                 7      A. I don't know.
          8      A. Yes, they are supposed to attach one           8      Q. Do you know if it was more or less than
          9   part of the harness to the machine.                  9   six months?
         10      Q. And is there some type of elastic or          10      A. No.
         11   bungee type material between the harness and the    11      Q. The members of your department did they
         12   machine you attach it to?                           12   wear any type of collared shirts to work?
         13      A. Yes.                                          13      A. Yes.
         14      Q. How high up did members of the Inventory      14      Q. Did they have a dress code?
         15   Control Department have to work to do their jobs?   15      A. We all have a dress code, but it is the
         16         MR. THORELL: Objection.                       16   understanding that the warehouse people don't
         17      A. I don't know measurements, but they have      17   follow the dress code for the company shirts or
         18   to reach the highest racks.                         18   ties. Office dress code. We have an office dress
         19      Q. How high off the floor approximately is       19   code.
         20   the highest rack?                                   20      Q. Does the office dress code apply to the
         21         MR. THORELL: Objection.                       21   members of the Inventory Control Department?
         22      A. I don't know measurements, but we are         22         MR. THORELL: Objection.
         23   talking about the fifth level.                      23      A. No.
         24      Q. There are five racks?                         24      Q. Did the office dress code apply to
         25      A. Yes.                                          25   admins who worked in the warehouse?

                                                                                        7 (Pages 25 to 28)
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                                                   Page 29                                                   Page 31
          1                  Suarez                             1                  Suarez
          2         MR. THORELL: Objection.                     2      A. It changed. At one point it was up to
          3      A. I don't know.                               3   two cases, then up to five cases.
          4      Q. Members of the Inventory Control            4      Q. When was it up to two cases?
          5   Department when Josie worked there, would they    5      A. I don't remember.
          6   come to work in jeans?                            6      Q. When was it changed up to five cases?
          7      A. Yes.                                        7      A. I don't remember either, but it was one
          8      Q. Could they come to work in sweat pants?     8   after the other. That is all I remember.
          9      A. Yes.                                        9      Q. Is it up to two cases in total or up to
         10      Q. Could they come to work with a             10   two cases per location?
         11   sweatshirt?                                      11          MR. THORELL: Objection.
         12      A. Yes.                                       12      A. Per location.
         13      Q. And would they come to work with other     13      Q. How many locations?
         14   casual clothing?                                 14      A. That is my understanding.
         15      A. Yes.                                       15      Q. What was that understanding from?
         16      Q. Was it common for them to get dirty when   16      A. From the instructions from my boss, John
         17   they did their jobs?                             17   Wilkinson.
         18      A. Yes.                                       18      Q. At the time that the inventory control
         19      Q. Did they have any gloves?                  19   clerks were allowed to move up to two cases per
         20      A. Yes.                                       20   location, how many locations were there in the
         21         MR. THORELL: Objection.                    21   warehouse?
         22      Q. Who issued the gloves?                     22          MR. THORELL: Objection. Read that
         23      A. The company.                               23      back.
         24      Q. Besides gloves, safety harnesses and       24          (Whereupon, the last question was read
         25   safety footwear, were members of the Inventory   25      back by the reporter.)

                                                   Page 30                                                   Page 32
          1                 Suarez                              1                  Suarez
          2   Control Department issued any other safety        2      A. I don't know for sure how many locations
          3   equipment?                                        3   were in the warehouse at that point.
          4         MR. THORELL: Objection.                     4      Q. During the entire time you were the
          5     A. I don't recall any other safety              5   Inventory Control Manager, was there a physical
          6   equipment.                                        6   location in the warehouse for each product sold by
          7     Q. How would you describe Josie as an           7   Southern Wine and Spirits?
          8   employee?                                         8         MR. THORELL: Objection.
          9         MR. THORELL: Objection.                     9      A. No, one item can have multiple
         10     A. A very good employee.                       10   locations.
         11     Q. Had you ever described her as a great       11      Q. How many, just so I understand? I am
         12   employee?                                        12   going to give you several hypotheticals here. Can
         13     A. Yes.                                        13   one location have more than one item in it?
         14     Q. Did you ever have any issues with           14      A. Yes.
         15   Josie's work?                                    15      Q. Was there at least one physical location
         16         MR. THORELL: Objection.                    16   for every item sold by Southern Wine & Spirits?
         17     A. Not that I remember.                        17      A. Yes.
         18     Q. Were members of the Inventory Control       18         MR. THORELL: Objection.
         19   Department permitted to move cases in the        19      Q. How many items were sold by Southern
         20   warehouse?                                       20   Wine & Spirits while you were the Inventory
         21         MR. THORELL: Objection.                    21   Control Manager?
         22     A. Yes.                                        22         MR. THORELL: Objection.
         23     Q. Was there a limit to how many cases they    23      A. From 15,000 to 35,000.
         24   could move per location?                         24      Q. Is it fair to say while you were the
         25         MR. THORELL: Objection.                    25   Inventory Control Manager there were between

                                                                                      8 (Pages 29 to 32)
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                                                     Page 33                                                   Page 35
          1                   Suarez                               1                  Suarez
          2   15,000 and 35,000 locations in the warehouse?        2   cases that Josie ever moved in a day?
          3          MR. THORELL: Objection.                       3         MR. THORELL: Objection.
          4      A. Yes.                                           4      A. No, I don't know for sure.
          5      Q. Is it fair to say that inventory control       5      Q. Part of the job duties of inventory
          6   clerks at different points in time could move        6   control clerks was to count merchandise?
          7   between two cases and five cases for each one of     7      A. Yes.
          8   those locations?                                     8      Q. Did they sometimes have to count
          9          THE WITNESS: Repeat the question.             9   merchandise by climbing onto palettes that were
         10          (Whereupon, the last question was read       10   some distance from the warehouse floor?
         11      back by the reporter.)                           11         MR. MANGAN: Objection.
         12          MR. THORELL: Objection.                      12      A. Yes.
         13      A. I don't think that is physically              13      Q. While they were climbing the palettes
         14   possible. I don't understand that. We really --     14   some distance from the warehouse floor, were they
         15      Q. Well, they were permitted to move two         15   attached to the cherry picker with a lanyard or
         16   cases per location; is that correct?                16   with a safety bungee cord?
         17      A. Yes.                                          17         MR. THORELL: Objection.
         18          MR. THORELL: Objection.                      18      A. Yes.
         19      Q. Later on it changed? They could move up       19      Q. Why were they not considered
         20   to five cases per location; is that correct?        20   warehousemen?
         21      A. Yes.                                          21         MR. THORELL: Objection.
         22      Q. Was there any limit placed on the total       22      A. I don't know.
         23   number of cases they can move in a given day? Let   23      Q. Did you tell John Wilkinson you believed
         24   me make it clear. There was a limit placed on the   24   they should be considered warehousemen for the
         25   number of cases they can move per location;         25   purposes of their Union classification?

                                                     Page 34                                                   Page 36
          1                   Suarez                               1                   Suarez
          2   correct? Between two cases per location and/or       2      A. Like I said before, at one point I had a
          3   five cases per location?                             3   conversation. I don't remember dates or the
          4      A. I wouldn't say per location. I would           4   conversation itself.
          5   say at a time.                                       5      Q. Did John ever get back to you after that
          6      Q. What do you mean by at a time?                 6   conversation and report back anything?
          7      A. I am the one giving out work. I will           7         MR. THORELL: Objection.
          8   print a set of locations that need products to be    8      A. Not that I remember.
          9   moved. Most of the time it was bottles and           9      Q. Do you recall speaking with an
         10   sometimes there were cases. I will never give       10   investigator after Josie filed her complaint?
         11   them work more than five cases per location, as     11      A. Yes.
         12   you said, but the work was given from me. I         12      Q. Who was that investigator?
         13   wouldn't send like to move five cases from all      13      A. I don't remember her name.
         14   locations. It was what was needed at that time.     14      Q. Do you remember the name Selena
         15      Q. Do you know the most number of cases          15   Seabrooks?
         16   that Tatiana moved in a day?                        16      A. Yes.
         17         MR. THORELL: Objection.                       17         MR. MOSER: Off the record.
         18      A. No, I don't know the number for sure.         18         (Whereupon, a break was taken off the
         19      Q. Do you know the total number of cases         19     record.)
         20   that Ena moved in a day?                            20               (Back on the record.)
         21         MR. THORELL: Objection.                       21         MR. MOSER: I am going to show you
         22      A. In general?                                   22      Plaintiff's Exhibit 23.
         23      Q. Ever.                                         23         (Plaintiff's Exhibit 23, Document Bates
         24      A. No.                                           24      stamped 225 through 229 marked for
         25      Q. Do you know what was the most number of       25      identification.) Not Plaintiff's Exhibit 34.

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                                                   Page 37                                                  Page 39
          1                 Suarez                              1                 Suarez
          2      Just Exhibit 23.                               2     A. I don't remember. This happened long
          3         (Whereupon, a document was handed to the    3   ago. It is accurate to the best of my knowledge.
          4      witness.)                                      4         MR. MOSER: I am going to draw your
          5         MR. MOSER: I would like you to take a       5     attention, just for the record, to properly
          6      couple of moments to look through this         6     identify the document. Bates stamp numbers
          7      document.                                      7     PL 1291 through 1295 in the upper corner. If
          8      Q. You can pick it up and read it.             8     you look at the bottom of the page, Page 3 of
          9      A. Okay. I am familiar with this.              9     5.
         10      Q. When for the first time did you see this   10     Q. Towards the top it mentions you describe
         11   document?                                        11   Josie as a great worker?
         12      A. I don't remember the exact date.           12     A. Yes.
         13      Q. Was it sometime after September 13th of    13         MR. MOSER: If we turn towards the
         14   2013?                                            14     second paragraph from the bottom. I would
         15      A. Yes, it must have been. I don't            15     like you to read that to yourself.
         16   remember the date.                               16         MR. THORELL: The one that starts
         17      Q. Did someone send you this document?        17     "Suarez stated."
         18      A. No.                                        18         MR. MOSER: Yes.
         19         MR. THORELL: Objection.                    19         MR. THORELL: I am pointing to the area
         20      Q. Where were you when you first reviewed     20     for the witness.
         21   this document?                                   21         MR. MOSER: You mentioned in -- if you
         22      A. At a conference room in Southern.          22     look at the last sentence of that paragraph,
         23      Q. Was Ms. Selena Seabrooks present when      23     you made a comment about Justin Vegh's
         24   you reviewed it?                                 24     classification out loud which is what you
         25      A. No.                                        25     describe as an honest mistake.
                                                   Page 38                                                  Page 40
          1                  Suarez                             1                   Suarez
          2      Q. Who was present when you reviewed the       2      Q. Why do you think it was a mistake to
          3   document?                                         3   mention Mr. Vegh's classification out loud?
          4      A. Keith.                                      4         MR. THORELL: Objection.
          5      Q. Keith Thorell?                              5      A. Repeat the question.
          6      A. Yes.                                        6      Q. Why do you think it was a mistake to
          7      Q. Was Mr. Thorell present when                7   mention Mr. Vegh's classification out loud?
          8   Ms. Seabrooks interviewed you?                    8      A. I think I did not mention the
          9      A. No.                                         9   classification out loud. I think I was referring
         10      Q. Did you review this document for           10   it was a mistake from payroll.
         11   accuracy?                                        11      Q. You were referring to that
         12          MR. THORELL: Objection.                   12   classification of Mr. Vegh as warehouse was due to
         13      A. Yes.                                       13   an honest mistake in payroll?
         14      Q. Were you given the opportunity to make     14      A. Yes.
         15   any corrections to this document?                15      Q. Now, how often did the members of your
         16      A. No.                                        16   department work with the warehousemen?
         17      Q. When you reviewed it, did you at that      17         MR. THORELL: Objection.
         18   time -- were its contents accurate?              18      A. Every day.
         19      A. Sorry.                                     19      Q. For how many hours every day did they
         20      Q. When you reviewed this document for the    20   work with warehousemen?
         21   first time, were its contents accurate?          21         MR. MOSER: Objection.
         22      A. I think so.                                22      A. There are no set hours.
         23      Q. Is there anything you believe is           23      Q. You have an office at 345 Underhill?
         24   inaccurate about this document as you sit here   24      A. Yes.
         25   today?                                           25         MR. THORELL: Now or back then?

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                                                      Page 41                                                   Page 43
          1                  Suarez                                 1                  Suarez
          2      Q. Back when Josie reported to you, did you        2   facing?
          3   have an office at 345 Underhill?                      3      A. I moved my desk many times.
          4      A. Yes.                                            4      Q. How many times in total did you move
          5      Q. Did your office have a door? I am               5   your desk?
          6   assuming it did.                                      6      A. I remember twice.
          7      A. I have moved. At the beginning, no. It          7      Q. Where your office desk was first
          8   was one office for all of us. No doors. There         8   located, when you sat at that desk, where was the
          9   were cubicles, then yes, I had an office with two     9   window?
         10   doors.                                               10      A. The windows were at my left. The wall
         11      Q. When did your office change to the             11   was on my right.
         12   office with the two doors?                           12      Q. Where were the doors?
         13      A. I don't remember the day.                      13      A. One behind me and one in front of me.
         14      Q. When there were just cubicles at that          14      Q. At that time, were the doors usually
         15   during that period of time when Josie reported to    15   opened or closed?
         16   you, do you know how many hours members of the       16         MR. THORELL: Objection.
         17   Inventory Control Team were spending on the          17      A. The one behind me, closed. The one in
         18   warehouse floor?                                     18   front of me, opened.
         19         MR. MANGAN: Objection.                         19      Q. As you were sitting at your desk, what
         20      A. Yes.                                           20   could you see, if anything, outside the front door
         21      Q. Back at this time, how many hours per          21   to your office?
         22   day were they spending on the warehouse floor?       22      A. The office desks of my team.
         23         MR. THORELL: Objection.                        23      Q. Did you ever keep track of how much time
         24         MR. MANGAN: Objection.                         24   your team was spending in the office v. in the
         25      A. At that time, most of the day.                 25   warehouse?

                                                      Page 42                                                   Page 44
          1                 Suarez                                  1                   Suarez
          2      Q. Do you have any reason to believe that          2      A. I honestly keep track of their work more
          3   that ever changed when you got your own office?       3   than their time.
          4      A. It changed a bit, yes.                          4      Q. During the time period you had your
          5      Q. How did it change?                              5   office, did they spend more time in the office or
          6      A. It was more time because we are not as          6   in the warehouse?
          7   close to the warehouse as we were before. So          7      A. I would say average of 50/50.
          8   there was more time for preparation of paperwork      8      Q. Were there times when you had your own
          9   to go into our -- for them to go into their           9   office that the members of the Inventory Control
         10   research and counts and work in the warehouse, and   10   Department spent all of their time in the
         11   also they needed time to come back and to do         11   warehouse?
         12   reconciliation of accounts, replying to e-mails to   12      A. Yes.
         13   the office. Yes.                                     13      Q. Are Ena and Tatiana suing Southern?
         14      Q. When you got your own office, it had two       14      A. I heard about it, but I don't know for
         15   doors?                                               15   sure.
         16      A. Yes.                                           16      Q. What did you hear? I don't want to know
         17      Q. Did you usually keep those doors open or       17   about anything you spoke about with Mr. Thorell.
         18   closed?                                              18   That is entirely confidential. Nothing you spoke
         19         MR. THORELL: Objection.                        19   with him about. Other than Mr. Thorell, did you
         20      A. Well, generally opened and the other           20   speak with anyone about whether Ena and Tatiana
         21   door generally closed.                               21   are suing Southern?
         22      Q. Was there a window to that office?             22      A. In I think June or July of this year the
         23      A. Yes.                                           23   head of HR asked me about if I am available for a
         24      Q. When you were sitting at your desk,            24   deposition on Ena and Tatiana's case. That is
         25   where was the window with regard to where you were   25   all. Nothing in writing. Just that.

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                                                      Page 45                                                     Page 47
          1                   Suarez                                1                Suarez
          2      Q. Do you know what this case is about?            2     A. About 100.
          3      A. I haven't received anything in writing.         3     Q. When you were in payroll, were
          4   I don't know for sure. I only know Josie is suing     4   warehousemen union members?
          5   the company and what I heard in the morning at the    5     A. Yes.
          6   Union.                                                6     Q. Was Ronnie the Union Shop Steward at
          7      Q. Were warehousemen, to your knowledge,           7   that point?
          8   eligible for something called top pay?                8     A. No.
          9      A. I don't know what top pay is really.            9     Q. Was Ronnie an employee at that point
         10      Q. Were warehousemen guaranteed overtime?         10   when you were doing payroll?
         11      A. Yes.                                           11     A. Yes.
         12      Q. Were members of the Inventory Control          12     Q. Do you have any opinions about the way
         13   Department guaranteed overtime?                      13   the Union treated members of the Inventory Control
         14          MR. THORELL: Objection.                       14   Team?
         15      A. No.                                            15         MR. THORELL: Objection.
         16          MR. MOSER: I have been referring to           16         MR. MANGAN: Objection.
         17      them as warehousemen.                             17     A. The Union?
         18      Q. The people who have the warehouse              18     Q. Yes. Or Ronnie.
         19   classification at Southern Wine & Spirits, are all   19     A. No, I don't have opinions about the
         20   of the people who have the warehouse                 20   Union.
         21   classification at Southern Wine & Spirits men?       21     Q. Do you have opinions about the way
         22          MR. THORELL: Objection.                       22   Ronnie treated members of the Inventory Control
         23      A. To the best of my knowledge, yes.              23   Team?
         24      Q. Do you know why that is?                       24         MR. MANGAN: Objection.
         25      A. No.                                            25     A. Yes, my opinion was formed from what my

                                                      Page 46                                                     Page 48
          1                 Suarez                                  1                 Suarez
          2      Q. Have you ever asked anyone why that is?         2   team members reported to me.
          3      A. No.                                             3      Q. What did your team members report to
          4      Q. Has that ever been a topic of discussion        4   you?
          5   at Southern Wine & Spirits why all of the people      5      A. At one time, I sent my people to
          6   who have the warehouse classification are men?        6   re-label one part of the warehouse location.
          7         MR. MANGAN: Objection.                          7   Applying labels to the location to the racks.
          8      A. I have never participated in those              8   They came back and said Ronnie told them that was
          9   conversations. I don't remember.                      9   a Union job.
         10      Q. Have you ever heard a conversation             10      Q. That was before they became Union
         11   regarding why all of the people who have the         11   members?
         12   warehouse classification are men at Southern?        12      A. No, they were Union already.
         13      A. No.                                            13      Q. Other than that, did the members of your
         14      Q. How many warehouse employees are               14   department tell you anything else about Ronnie
         15   there --                                             15   that formed your opinion about Ronnie?
         16         MR. THORELL: Objection.                        16      A. A few times they have issues with the
         17      Q. -- by warehouse employees, I mean              17   paychecks or wanted to ask anything about the
         18   warehousemen who have a warehouse classification?    18   Union and he didn't help them. He sent them to
         19         MR. THORELL: Objection.                        19   the shop steward, or customer service, or some
         20      A. I don't know. It changed since I was in        20   other shop steward. He didn't want to help them.
         21   payroll. I don't keep track of the number.           21      Q. Did you ever have any conversations with
         22      Q. When you were in payroll how many              22   Ronnie about the way the members of your
         23   warehousemen were there?                             23   department were classified?
         24         MR. THORELL: All shifts?                       24      A. No. Only one time I told him if he has
         25         MR. MOSER: In all shifts.                      25   anything to tell to my people, to come to me and

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                                                       Page 49                                                   Page 51
          1                  Suarez                                 1                  Suarez
          2   tell me or go to my boss and tell him. That was       2      Q. Why did you personally feel that your
          3   the only thing about the Union issue. That was it     3   team should be considered warehouse?
          4   between us.                                           4      A. Because they work in the warehouse.
          5      Q. When was that? When did you tell that           5   They drive machinery. They are exposed to the
          6   to him?                                               6   same conditions as the warehousemen.
          7      A. I don't remember.                               7         MR. MOSER: If we look a little bit
          8      Q. How did Ronnie respond to you?                  8      further down, I am going to read this into
          9      A. He didn't say much. I don't think he            9      the record, then I will have a question. If
         10   said anything.                                       10      you look at the fifth line in the third
         11      Q. Were warehousemen permitted to park next       11      paragraph. "After the Union recognized her
         12   to the building?                                     12      department, Suarez said she asked Wilkinson
         13         MR. THORELL: Objection.                        13      to have her group considered as part of the
         14      A. Not at the 345 parking lot.                    14      warehouse. Suarez said she believed
         15      Q. Where were they supposed to park?              15      Wilkinson attempted to achieve this.
         16         MR. THORELL: Objection.                        16      However, the Union denied allowing the
         17      A. At the truck entrance. The receiving           17      department to be recognized as part of the
         18   entrance, or 313, or 225.                            18      warehouse. Suarez argued her employees wore
         19      Q. Why was that?                                  19      boots similar to a warehouse worker and were
         20      A. I am not sure. They explained something        20      exposed to the same hazards as a warehouse
         21   to me. I really didn't understand.                   21      worker. She further stated prior to her
         22      Q. Were the members of your department told       22      department being recognized as part of the
         23   they had to park with the warehousemen?              23      Union, the employees worked 40 hours per
         24      A. Yes.                                           24      week, 8 hours per day. Since then, their
         25      Q. Did they have to park with the                 25      work decreased to 35 hours per week, 7 hours

                                                       Page 50                                                   Page 52
          1                  Suarez                                 1                   Suarez
          2   warehousemen the entire year or just part of the      2      per day."
          3   year?                                                 3      Q. Does this refresh your memory of your
          4          MR. THORELL: Objection.                        4   conversation with John Wilkinson?
          5      A. That, I don't know.                             5      A. Yes, I remember talking to him, but I
          6      Q. Did you tell the members of your team           6   don't remember the dates. I don't remember him
          7   they had to park with the warehousemen?               7   getting back to me or nothing of the sort.
          8      A. I forwarded them a couple of e-mails            8      Q. Did Mr. Wilkinson ever say he agreed
          9   from Dave.                                            9   with you that members of your department should be
         10      Q. Dave who?                                      10   classified as warehouse employees?
         11      A. David. The head of security.                   11      A. No, I don't remember him ever saying
         12      Q. Spell the last name?                           12   that.
         13      A. Dougherty. D-o-u-g-h-e-r-t-y.                  13      Q. Did he ever approve that the members of
         14      Q. Do you know why your staff had to park         14   your department would be reclassified as warehouse
         15   with the warehousemen?                               15   employees?
         16          MR. THORELL: Objection.                       16         MR. THORELL: Objection.
         17      A. Again, I am not sure. Dave explained           17      A. Not that I know of.
         18   this to me, but I am not sure I understood at that   18         MR. MOSER: Mark this.
         19   time. By now, I forgot.                              19         (Plaintiff's Exhibit 24, Document Bates
         20          MR. MOSER: Let's look at Page 4 of 5.         20      stamped 850 and 851, marked for
         21      Are you open to that page? If you look at         21      identification.)
         22      the third paragraph from the top, it says         22         MR. MOSER: I draw your attention to
         23      here, "Suarez then commented that she             23      this document which has the Bates stamped
         24      personally felt that her team should be           24      PL-850 and 0851 in the upper right corner.
         25      considered warehouse."                            25      Turn to the second page, PL-0851. The bottom

                                                                                        13 (Pages 49 to 52)
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                                                       Page 53                                                  Page 55
          1                   Suarez                                1                   Suarez
          2      e-mail.                                            2      A. No. No salaries.
          3      Q. Was this sent by you?                           3      Q. Did you have access to how much your
          4      A. Yes.                                            4   employees were earning?
          5      Q. Who was it sent to?                             5          MR. THORELL: Objection.
          6      A. My boss, John Wilkinson.                        6      A. No. Limited access.
          7      Q. May 2, 2013? Was that May 2, 2013?              7      Q. How would you obtain access?
          8      A. Only by what it says here, yes.                 8      A. Just at the beginning. When I hired
          9      Q. Did you write, "I think the best way to         9   them, I was given the current rate of pay for a
         10   do it is to insist on all of them to be moved to a   10   starting position. I know in general that they
         11   new department as per our previous conversation      11   are given raises every year, but other than that,
         12   and approved by you?"                                12   no.
         13      A. Yes.                                           13      Q. Do you know whether Justin Vegh was
         14      Q. What did you mean by "them?" Is "them"         14   earning more per hour than Ena and Tati for any
         15   referring to all of the members of the Inventory     15   period of time?
         16   Control Department?                                  16      A. No, I wouldn't know.
         17      A. Yes.                                           17      Q. During this investigation did Selena
         18      Q. When you say that they should be "moved        18   Seabrooks ever show you the payroll records of any
         19   to a new department" what are you referring to?      19   of the individuals in your department to show you
         20      A. Payroll division.                              20   what their relative earnings were?
         21      Q. What payroll division would they be            21      A. I don't remember that.
         22   moved to?                                            22          MR. MOSER: Go to the next paragraph.
         23      A. By themselves. One department that             23      On Exhibit 23, Page 4 of 5. Bates number PL
         24   payroll generates all the pages by their division.   24      1294. The fourth paragraph. The second line
         25   I wanted my people to be printed on a separate       25      from the top. "Suarez indicated."

                                                       Page 54                                                  Page 56
          1                  Suarez                                 1                  Suarez
          2   page. Payroll included my people and everybody        2      Q. Do you see that?
          3   else working in the warehouse in one department,      3      A. Yes.
          4   which is actually two departments. Warehouse          4         MR. MOSER: "Suarez indicated she
          5   days. Warehouse nights. They were in the same         5      approached Wilkinson and Risley with this
          6   division department with all the warehouse. The       6      concern when her department initially became
          7   day employees.                                        7      recognized by the Union in December 2008."
          8      Q. The payroll for inventory control clerks        8      Q. So, does this refresh your recollection
          9   was included with all of the payroll of the           9   as to when your department went Union?
         10   warehouse workers?                                   10      A. Even with this, I wouldn't remember the
         11      A. Yes.                                           11   dates clearly, but I will go by this.
         12      Q. Why was that?                                  12      Q. Do you have any reason to believe this
         13          MR. THORELL: Objection.                       13   is incorrect?
         14      Q. Do you know why that was done that way?        14      A. No, I don't.
         15      A. No, I don't.                                   15      Q. Would you ever tell Selena Seabrooks
         16      Q. Did you have access to the warehouse           16   something that was incorrect or false?
         17   payroll?                                             17         MR. THORELL: What was the question?
         18      A. Yes, when I had access to my people's          18      A. No, I wouldn't.
         19   payroll, I had access to the warehouse payroll.      19      Q. Was there anyone other than you that had
         20   That is why I wanted them to be moved separate so    20   more knowledge of what the members of your team
         21   I just wanted to see them and I don't want them to   21   were doing on a daily basis in December of 2008?
         22   be, I guess, on the same payroll page with           22         MR. THORELL: Objection.
         23   everybody else.                                      23      A. I don't think so.
         24      Q. Did you have access to how much Ronnie         24      Q. Is it fair to say you were the person
         25   was earning?                                         25   with the most knowledge in December of 2008 about

                                                                                        14 (Pages 53 to 56)
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                                                       Page 57                                                   Page 59
          1                  Suarez                                 1                  Suarez
          2   what the members of the Inventory Control Team        2         MR. THORELL: Okay I see it.
          3   were doing?                                           3     A. I don't remember if I used the word
          4         MR. THORELL: Objection.                         4   "blame," but I was told by Greg and John that it
          5      A. Yes.                                            5   was the Union who didn't accept them as a
          6      Q. Before they went Union, did any Union           6   warehousemen.
          7   member come and ask you about what the members of     7     Q. Did you believe at that time that Greg
          8   your department were doing?                           8   and John had gone to the Union and asked the Union
          9      A. No.                                             9   for the members of your team to be classified as
         10      Q. Did anyone come and ask you any                10   warehousemen?
         11   questions about the daily activities of the          11         MR. MANGAN: Objection.
         12   members of your department before they went Union    12     A. I don't know for sure.
         13   in December of 2008?                                 13     Q. Is that what they told you?
         14         MR. THORELL: Objection.                        14         MR. MANGAN: Objection.
         15      A. No.                                            15     A. More or less what they told me is that
         16      Q. Do you know how they decided that the          16   Greg said something like "I tried, but I don't
         17   members of your department would not join the        17   know anymore."
         18   warehouse classification but would join the office   18     Q. When he said, "I tried," that was in
         19   or clerical classification?                          19   context of getting the members of your department
         20         MR. THORELL: Objection.                        20   reclassified from clerical workers to warehouse
         21      A. Did I know how? No, I didn't.                  21   workers; correct?
         22      Q. If they asked you before they made that        22         MR. THORELL: Objection.
         23   decision to classify them as clerical what would     23         MR. MANGAN: Objection.
         24   you have told them?                                  24     A. It was at the beginning when they joined
         25         MR. THORELL: Objection.                        25   the Union. I insisted they were warehouse or had

                                                       Page 58                                                   Page 60
          1                  Suarez                                 1                   Suarez
          2      A. They didn't ask me, but I did say to            2   conversations with John and Greg.
          3   John and Greg they should be warehouse.               3      Q. In December of 2008, was your department
          4      Q. If they asked you before the decision           4   exclusively female?
          5   was made, would you have said they should be          5      A. I am not sure when Justin was hired.
          6   warehouse employees?                                  6      Q. Wasn't Justin hired in February 2009?
          7      A. Yes.                                            7      A. I don't know for sure. I should have
          8      Q. Did you understand at that point in time        8   prepared with dates saying stuff like that if I
          9   there was a select group of employees who could       9   would know.
         10   earn top pay?                                        10          MR. MOSER: Mark this.
         11         MR. MANGAN: Objection.                         11          (Plaintiff's Exhibit 25, Document Bates
         12      A. No.                                            12      stamped 1619 through 1632, marked for
         13      Q. Did you understand that if your                13      identification.)
         14   department was entitled to the warehouse             14      Q. Have you ever seen this document before
         15   classification, that Josie might be eligible for     15   today?
         16   top pay instead of another warehousemen?             16      A. No.
         17         MR. THORELL: Objection.                        17          MR. MOSER: I am going to draw your
         18         MR. MANGAN: Objection.                         18      attention to page PL-1621 on the upper right
         19      A. No.                                            19      hand corner. Page 3 of 14. This is a report
         20      Q. It says here you stated that you "did          20      from Selena Seabrooks actually furnished to
         21   not blame Wilkinson or the company" but instead      21      the EEOC, Equal Employment Opportunity
         22   said "it was the Union."                             22      Commission. It says towards the bottom, the
         23         MR. THORELL: Where did you read that.          23      second paragraph from bottom, "On February 2,
         24      Q. Look at the middle of the fourth               24      2009, Vegh began working for Southern as a
         25   paragraph.                                           25      full-time inventory control clerk."

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                                                       Page 61                                                   Page 63
          1                 Suarez                                  1                  Suarez
          2      Q. Do you see that?                                2   but the final word was John's.
          3      A. Yes.                                            3      Q. Did you select who to interview for that
          4      Q. Do you have any reason to believe this          4   position?
          5   information is incorrect?                             5      A. I don't remember if at that time I was
          6      A. No.                                             6   given the files by HR like it is the way it is
          7      Q. That would mean in December of 2008,            7   now. I don't remember at the time who gave me the
          8   your department was 100 percent female; is that       8   names, but I remember that the selection I made,
          9   correct?                                              9   both of them were temps working for me already.
         10         MR. THORELL: Objection.                        10      Q. Who were the two temps who you chose
         11      A. Yes. Hired employees. I had temps              11   from?
         12   working.                                             12      A. I think the other name was Michael. I
         13      Q. Your full-time staff was one hundred           13   don't remember very well.
         14   percent female?                                      14      Q. Did you interview any women for that
         15      A. Yes.                                           15   position?
         16      Q. Did you believe that the Union's reason        16      A. I had I think one more temp woman
         17   for denying women the warehouse classification was   17   working for me, but I selected only the two of
         18   because they were women?                             18   them. Michael and Justin.
         19         MR. THORELL: Objection.                        19      Q. You selected them why?
         20         MR. MANGAN: Objection.                         20      A. They were the best temps. The best
         21      A. I wouldn't know.                               21   workers I had at that time.
         22      Q. Did Mr. Risley or Mr. Wilkinson tell you       22      Q. How did Justin get his job as a temp?
         23   the reasons why they believed the women in your      23         MR. THORELL: Objection.
         24   department were not classified as warehousemen?      24      A. I called one of the staff agencies
         25      A. No.                                            25   asking for workers.

                                                       Page 62                                                   Page 64
          1                  Suarez                                 1                 Suarez
          2      Q. Did Risley disagree with you when you           2     Q. How did Michael get his job as a temp?
          3   told him you believed the members of your             3     A. The same way.
          4   department should be classified as warehouse          4         MR. THORELL: Objection.
          5   employees?                                            5     Q. Michael was a man?
          6          MR. THORELL: Objection.                        6     A. Yes.
          7      A. It seemed at the time both John and Greg        7     Q. Was Justin white?
          8   agreed with me.                                       8     A. Yes.
          9      Q. Is it fair to say Justin Vegh was hired         9     Q. Was Michael white?
         10   after you complained to John Wilkinson and Greg      10     A. No. A black man.
         11   Risley that the members of your department should    11     Q. Was Ronnie a member of a firehouse?
         12   be classified as warehouse?                          12         MR. THORELL: Objection.
         13          MR. THORELL: Objection.                       13         MR. MANGAN: Objection.
         14          MR. MANGAN: Objection.                        14     A. I don't know.
         15      A. I don't understand the question you are        15     Q. Is Justin a member of the firehouse?
         16   asking for. If this was the reason?                  16         MR. THORELL: Objection.
         17      Q. I am not asking if that was the reason.        17         MR. MANGAN: Objection.
         18   I am asking, was he actually hired after you         18     A. I don't know.
         19   complained that your department should be            19     Q. Do you know how the temp agency selected
         20   classified as warehouse?                             20   Justin and Michael?
         21          MR. THORELL: Objection.                       21         MR. THORELL: Objection.
         22          MR. MANGAN: Objection.                        22     A. No, they were two different temp
         23      A. Yes, he was hired after.                       23   agencies.
         24      Q. Did you hire Justin?                           24     Q. What were the two different temp
         25      A. I interviewed him and I selected him,          25   agencies?

                                                                                        16 (Pages 61 to 64)
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                                                      Page 65                                                    Page 67
          1                   Suarez                                1                  Suarez
          2      A. Justin and somebody else. A lady that           2      Q. Are you familiar with what the job
          3   didn't last long came from Accountemps, and           3   duties of a shipping and receiving clerk were
          4   Michael and three other temps came from -- I don't    4   between 2008 and the time Josie left?
          5   remember the name. The staffing agency that           5         MR. THORELL: Objection.
          6   already worked in the warehouse and provided with     6      A. In general.
          7   drivers and helpers.                                  7      Q. In general, what were the duties of a
          8      Q. When Justin worked as a temp, was his           8   shipping and receiving clerk during that time
          9   paycheck issued by Southern or by Accountemps?        9   period?
         10          MR. THORELL: Objection.                       10      A. They prepared the paperwork. Print the
         11      A. Accountemps.                                   11   paperwork. I think it was only one clerk during
         12      Q. When Justin worked as a temp at Southern       12   the day shift. They keep the log. They forward
         13   Wine and Spirits, did he have to fill out an         13   paperwork to the Accounting Department.
         14   employment application or was one already done       14      Q. Who was the shipping and receiving clerk
         15   through Accountemps?                                 15   for the day?
         16          MR. THORELL: Objection.                       16         MR. THORELL: Objection.
         17          MR. MANGAN: Objection.                        17      A. Paul Kazan.
         18      A. Everything was done through HR, so I am        18      Q. Was he a warehouseman?
         19   not sure about the details. I only had to report     19      A. Not that I know of.
         20   hours to HR and they deal with the agencies.         20      Q. Who was the shipping and receiving clerk
         21      Q. Can you describe the duties of an              21   for the night?
         22   inventory control clerk?                             22         MR. THORELL: Objection.
         23          MR. MANGAN: When?                             23      A. I don't think we had anybody at night.
         24      Q. Did the duties of inventory control            24      Q. The shipping and receiving clerk is a
         25   clerks remain more or less the same during the       25   day position to your understanding?

                                                      Page 66                                                    Page 68
          1                  Suarez                                 1                  Suarez
          2   time period that Josie worked for Southern?           2      A. Yes.
          3      A. Yes.                                            3      Q. The shipping and receiving clerk to your
          4      Q. Could you please describe the duties of         4   understanding worked during the day?
          5   an inventory control clerk?                           5          MR. THORELL: Now or back then?
          6      A. Basically, cycle counts. Comparing the          6          MR. MOSER: Back then.
          7   physical inventory against inventory books.           7      A. I didn't know about anybody working at
          8      Q. I am learning a lot about inventory. It         8   night in that position.
          9   is my understanding that physical inventory, that     9      Q. Are you familiar with the job duties of
         10   refers to the actual product that is on the          10   the checker?
         11   shelves or on the floor in the warehouse?            11      A. In general.
         12      A. Yes.                                           12      Q. Did the job duties of checkers remain
         13      Q. Then there is a paper record or                13   more or less the same from December 2008 until the
         14   electronic record of that inventory?                 14   time Josie left?
         15      A. Yes.                                           15          MR. THORELL: Objection.
         16      Q. That is kept in a data?                        16      A. I believe so.
         17      A. Yes.                                           17      Q. Describe for me your duties as a checker
         18      Q. The essence of Josie's job was to make         18   as you understood them?
         19   sure that the inventory that was in the warehouse    19      A. Compare the receiving paperwork to the
         20   matched the inventory in the computer?               20   purchase orders. Bill of lading against the
         21      A. Yes.                                           21   merchandise. The actual merchandise received by
         22      Q. Are you familiar with something called a       22   the company and count the product.
         23   shipping and receiving clerk, or checker?            23          MR. MOSER: I am going to over simplify
         24      A. I will change it to "and checker." They        24      this. Just a simplification. You can
         25   are two different positions.                         25      disagree with me if I wrong.

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                                                      Page 69                                                  Page 71
          1                   Suarez                                1                 Suarez
          2      Q. When a shipment of merchandise is               2   you know?
          3   received by Southern, there is a certain amount of    3         MR. THORELL: Objection.
          4   product that is actually on that truck that           4      A. I would say Andy Sidler (phonetic).
          5   arrives; correct?                                     5      Q. Beside Mr. Sidler, do you know of any
          6      A. Yes.                                            6   other checkers?
          7      Q. That product -- there is paperwork for          7      A. I don't know for sure.
          8   that product to show what is actually on that         8      Q. Is Kevin Eisenbaum (phonetic) a checker?
          9   truck; is that fair to say?                           9         MR. THORELL: Objection.
         10      A. Yes.                                           10      A. I don't know.
         11      Q. Is it the checker's job to make sure           11      Q. Do any warehousemen have e-mail
         12   that the physical items on the truck actually        12   addresses?
         13   match the paperwork that is received?                13         MR. THORELL: Objection.
         14         MR. MANGAN: Objection.                         14      A. Yes.
         15      A. Yes.                                           15      Q. Have warehousemen had e-mail addresses
         16      Q. What the Inventory Control Department          16   since December of 2008?
         17   does on a warehouse basis, is it fair to say, that   17         MR. THORELL: Objection.
         18   is the same thing that a checker does for an         18      A. I wouldn't say for sure dates. Some of
         19   individual shipment that arrives?                    19   them like also had e-mail addresses, yes.
         20         MR. THORELL: Objection.                        20      Q. For the time period that you were the
         21         MR. MANGAN: Objection.                         21   Inventory Control Manager, were there some
         22      A. In my opinion, yes.                            22   warehousemen who had e-mail addresses?
         23         MR. MOSER: Let's talk about the year           23      A. Yes.
         24      2009.                                             24      Q. Did checkers prepare paperwork?
         25      Q. How many shipments of product were             25         MR. THORELL: Objection.

                                                      Page 70                                                  Page 72
          1                  Suarez                                 1                  Suarez
          2   received by Southern on a daily basis in 2009?        2      A. Yes.
          3         MR. THORELL: Objection.                         3      Q. What skills were required of inventory
          4         MR. MANGAN: Objection.                          4   control clerks?
          5      A. I wouldn't say a number for sure, but           5      A. Computer skills. Lifting. I don't
          6   the records are there. I wouldn't attempt to put      6   remember the exact amount of pounds. Ability of
          7   a number.                                             7   climbing and being comfortable with heights.
          8      Q. It is a lot?                                    8      Q. Was it important for inventory control
          9      A. Yes.                                            9   clerks to get an accurate physical count of
         10      Q. Are trucks arriving and being unloaded         10   merchandise in the warehouse?
         11   all day long?                                        11      A. Yes. Math skills, yes.
         12      A. Yes.                                           12      Q. What kind of computer skills were
         13      Q. The checkers have time to do other jobs        13   required?
         14   other than the job of a checker when those trucks    14      A. I don't remember whether it was written
         15   were arriving?                                       15   down the requirements for the position exactly,
         16         MR. THORELL: Objection.                        16   but I would say that like Office, Excel, Word,
         17         MR. MANGAN: Objection.                         17   Outlook.
         18      A. I wouldn't know if they were. They have        18      Q. Were there computers in the warehouse
         19   time for something else.                             19   that the warehousemen used to send and receive
         20      Q. Are there individuals who specifically         20   e-mails?
         21   have the title of checker?                           21      A. Yes.
         22         MR. THORELL: Objection.                        22      Q. What is the name of the computer
         23         MR. MANGAN: Objection.                         23   inventory system that was used by Southern while
         24      A. To the best of my knowledge, yes.              24   you were the Inventory Control Manager?
         25      Q. What are the names of the checkers that        25      A. Sapphire.

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                                                       Page 73                                                 Page 75
          1                  Suarez                               1                  Suarez
          2      Q. Is it fair to say you are extremely           2     Q. Is college required for the position?
          3   knowledgeable of Sapphire?                          3     A. Not required.
          4      A. I am knowledgeable in Sapphire, yes.          4     Q. When we turn to the checker job, does
          5      Q. Did warehousemen use Sapphire as well?        5   the checker's position require the ability to
          6      A. Yes.                                          6   count product?
          7      Q. Did inventory control clerks use              7         MR. MANGAN: Objection.
          8   Sapphire?                                           8     A. I don't know their requirements.
          9      A. Yes.                                          9         MR. MOSER: Mark this.
         10      Q. Did warehousemen use Excel spreadsheets?     10         (Plaintiff's Exhibit 26, Document Bates
         11         MR. THORELL: Objection.                      11     stamped 0053, marked for identification.)
         12      A. Yes.                                         12         MR. MOSER: You are shown what is marked
         13      Q. Did warehousemen use Microsoft Word?         13     Exhibit 26 for identification. In the upper
         14         MR. THORELL: Objection.                      14     right hand corner, the Bates stamp is
         15      A. I don't know.                                15     PL-0053.
         16         MR. MOSER: Off the record.                   16     Q. Do you see that?
         17         (Whereupon, a break was taken off the        17     A. Yes.
         18     record.)                                         18     Q. Do you recognize this document?
         19               (Back on the record.)                  19     A. Yes.
         20         MR. MOSER: Welcome back.                     20     Q. What is this document?
         21         THE WITNESS: Thank you.                      21     A. We were asked by -- I was asked by HR
         22         MR. MOSER: I am going to have some more      22   the requirements for the inventory check position.
         23      questions for you. The same instructions I      23   We were ready to hire more people other than
         24      had for the first half of the day still         24   Josie. At that time, it was only Josie. If I
         25      apply. If you don't understand a question,      25   remember correctly, it was Josie who helped me

                                                       Page 74                                                 Page 76
          1                 Suarez                                1                 Suarez
          2      let me know and I will repeat or rephrase it.    2   write down these requirements.
          3      Don't answer it.                                 3      Q. Did you approve this document?
          4      Q. Okay?                                         4      A. Yes.
          5      A. Yes.                                          5      Q. Was this the job description for the
          6      Q. Does the inventory control clerk's job        6   inventory control clerk position at time it was
          7   require the ability to count product?               7   prepared?
          8      A. Yes.                                          8         MR. THORELL: Objection.
          9      Q. Does it require the ability to carry up       9      A. Yes.
         10   to 45 pounds?                                      10      Q. Did this job description remain the same
         11          MR. THORELL: Objection.                     11   from the time you prepared it until Josie left?
         12      A. I don't recall the exact amount of           12         MR. THORELL: Objection.
         13   pounds. It sounds right, 45.                       13      A. Yes.
         14      Q. Does it require the ability to be            14      Q. Where it says, "Summary of position
         15   comfortable with heights?                          15   responsibilities," is that a list of all of the
         16      A. Yes.                                         16   material responsibilities of the inventory control
         17      Q. How about the physical ability to climb      17   clerk?
         18   and maneuver around palettes?                      18         MR. THORELL: Objection.
         19          MR. THORELL: Objection.                     19      A. No, sometimes we have special projects.
         20      A. Yes.                                         20   Basically, the daily responsibilities. Yes.
         21      Q. Is warehouse experience preferred for        21      Q. What is a cycle count?
         22   the inventory control clerk job?                   22      A. Like you say matching physical inventory
         23          MR. THORELL: Objection.                     23   against inventory and books.
         24          MR. MANGAN: Objection.                      24      Q. What is verifying counts and vintages?
         25      A. Yes.                                         25      A. On a daily basis, we had questions from

                                                                                       19 (Pages 73 to 76)
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                                                      Page 77                                                    Page 79
          1                  Suarez                                 1                  Suarez
          2   the sales force and marketing. Confirmation of        2      A. Scrubbing is the same as cycle counts.
          3   vintages. Current shipping vintage or sometimes       3   We do sections of areas of the warehouse at a
          4   the breakdown of certain product by vintages with     4   time, location by location.
          5   counts.                                               5      Q. Do you scrub the warehouse on a regular
          6      Q. Is it fair to say the sales force needed        6   basis?
          7   to know what product you had on hand to see if        7      A. Yes.
          8   they can sell it to customers?                        8      Q. Is that done on a daily basis?
          9      A. Yes.                                            9      A. Yes.
         10      Q. When you received those e-mails, was it        10      Q. Scrubbing requires the person doing the
         11   the job of the inventory control clerks to go into   11   scrubbing to be physically in the warehouse?
         12   the warehouse and verify that the physical product   12      A. Yes.
         13   was located?                                         13         MR. THORELL: Objection.
         14         MR. MANGAN: Objection.                         14      Q. Describe for me what is scrubbing.
         15      A. Yes.                                           15      A. Verifying locations. We have the report
         16      Q. What about "research and locate items?"        16   showing the list of inventory items with
         17   What does that refer to?                             17   locations. We go to that section of the warehouse
         18      A. Many times product wasn't registered in        18   and compare location by location and compare the
         19   a location. Somebody just forgot to write down or    19   physical product against the report.
         20   somebody just forgot to enter the location in the    20      Q. If there was a difference between the
         21   computer. We went and looked for the product.        21   physical inventory located at a location than what
         22   Locate the product. Locate it in the computer as     22   is on the printed report, what is the inventory
         23   well.                                                23   control clerk supposed to do?
         24      Q. Did Josie have the authority to make any       24      A. Change the location in the system to
         25   changes to inventory in the computer?                25   make the system register the accurate location in

                                                      Page 78                                                    Page 80
          1                 Suarez                                  1                   Suarez
          2        MR. THORELL: Objection.                          2   the system.
          3      A. To inventory, no.                               3      Q. Can the inventory control clerk actually
          4      Q. Did you have the authority to make any          4   make the location change in the system?
          5   changes to inventory in the computer?                 5      A. Yes.
          6        MR. THORELL: Objection.                          6         MR. MOSER: Let's assume for instance we
          7      A. Changes to inventory, no.                       7      are talking about wine, and at a particular
          8      Q. What department had the authority to            8      location it says there are -- the computer
          9   change inventory in the computer to match the         9      says ten cases of wine. When the inventory
         10   physical inventory on hand?                          10      control clerk gets to that location, they
         11      A. Accounting.                                    11      find five cases of wine.
         12      Q. Where was accounting located?                  12      Q. What are they supposed to do?
         13        MR. THORELL: Objection.                         13         MR. THORELL: Objection.
         14      Q. What address?                                  14      A. Here, it becomes -- this would become a
         15      A. 313 Underhill.                                 15   cycle count. This person is supposed to tell me,
         16      Q. Just so I understand, the members of the       16   for me to write an e-mail to accounting or
         17   Inventory Control Team count product, but they       17   themselves write an e-mail to accounting reporting
         18   could not change the inventory on the computer to    18   the difference.
         19   match the physical inventory on hand?                19         MR. MOSER: Mark this.
         20      A. That is correct.                               20         (Plaintiff's Exhibit 27, Document Bates
         21      Q. Do you consider Exhibit 26 to be an            21      stamped 1074, marked for identification.)
         22   accurate job description?                            22         MR. MOSER: I am going to show you what
         23        MR. THORELL: Objection.                         23      has been marked Exhibit 27 for identification
         24      A. Yes.                                           24      and it has the Bates stamp PL-1074 on the
         25      Q. What is scrubbing?                             25      right hand corner.

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                                                   Page 81                                                   Page 83
          1                  Suarez                             1                  Suarez
          2      Q. Do you see that?                            2      Q. What is the purpose of this report?
          3         (Whereupon, a document was handed to the    3         MR. THORELL: Objection.
          4      witness.)                                      4      Q. What is this document?
          5      A. Yes.                                        5      A. This is a screen shot of inventory and
          6      Q. Did you prepare this document?              6   locations at that moment in the warehouse.
          7      A. Yes, with the help of HR.                   7      Q. Because the user is JSajous, would it
          8      Q. Who from HR helped you prepare that         8   mean Josie printed this out?
          9   document?                                         9      A. Yes.
         10      A. If I remember correctly, Ena. She was      10      Q. Did inventory control clerks print out
         11   my contact for all warehouse employees.          11   these screen shots?
         12      Q. Is this used to advise an employee that    12      A. Yes.
         13   they have violated a company policy.             13      Q. For what purpose?
         14         MR. THORELL: Objection.                    14         MR. THORELL: Objection.
         15      A. Yes.                                       15      A. To go to the warehouse and do the
         16      Q. Was this issued to Josie for violating a   16   physical verification.
         17   company policy?                                  17      Q. Would this be preceded by instruction
         18      A. Yes.                                       18   from you or by e-mail from someone asking them to
         19      Q. Other than receiving this particular       19   go check the product?
         20   employee documentation, did you ever issue any   20         MR. THORELL: Objection.
         21   other employee documentation to Josie for        21      A. Yes.
         22   violation of company policy?                     22      Q. The location on the bottom, LOC,
         23      A. I don't remember ever doing so.            23   underneath that, 64821, what does that refer to?
         24         MR. MOSER: Mark this.                      24         MR. THORELL: The handwriting.
         25         (Plaintiff's Exhibit 28, Document Bates    25         MR. MOSER: Yes.

                                                   Page 82                                                   Page 84
          1                  Suarez                             1                   Suarez
          2      stamped 1783, marked for identification.)      2          MR. THORELL: Objection.
          3         MR. MOSER: I am now showing you what        3      A. It is the same as the warehouse
          4      was marked Exhibit 28 for identification.      4   location.
          5      The upper right hand corner has the number     5      Q. When we talk about warehouse location,
          6      PL-1783.                                       6   is that basically like an address for a particular
          7      Q. Did you see that?                           7   physical location in the warehouse?
          8         (Whereupon, a document was handed to the    8      A. Yes.
          9      witness.)                                      9      Q. Were there 64,000 locations?
         10      A. Yes.                                       10          MR. THORELL: Objection.
         11         MR. MOSER: On the upper left hand          11      A. No.
         12      corner, there is a number that begins OE02.   12      Q. Does this, in your opinion tell you
         13      Q. Do you know what that refers to?           13   where this the warehouse location is?
         14      A. That is the program that writes the name   14      A. Yes.
         15   of the program for this specific screen.         15      Q. How can you tell from looking at the
         16      Q. Is this part of Sapphire?                  16   number where the location is?
         17      A. Yes.                                       17      A. At that point from 57,000 to 69,000
         18         MR. MOSER: Below that, it has              18   locations refers to cooler room, and the cage, and
         19      "JSajous".                                    19   the lockup.
         20      Q. What does that refer to?                   20      Q. How did you know where these locations
         21      A. The user.                                  21   were? Was there a map or some type of guide that
         22         MR. MOSER: In the upper right hand         22   you used?
         23      corner, 9/4 of 2013.                          23          MR. THORELL: Objection.
         24      Q. What does that refer to?                   24          MR. MANGAN: Objection.
         25      A. When it was printed.                       25      A. Yes, for the non-experienced people we

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                                                       Page 85                                                   Page 87
          1                   Suarez                                1                  Suarez
          2   had a map, or when the auditors came, we showed       2   line on the first page, that is an e-mail you
          3   them a map. For my people they just knew              3   sent?
          4   firsthand. They knew the warehouse locations.         4      A. Yes.
          5   They have to.                                         5      Q. Who did you send that to?
          6      Q. When you look at the location can you           6      A. To the Inventory Control Team.
          7   tell whether that location is located physically      7      Q. If you look at the last page, what is
          8   on the floor or located higher up on the racks?       8   this page?
          9      A. Yes, the last digit for this location           9         MR. THORELL: Objection.
         10   will refer to the floor level.                       10      A. Items with less than five cases in two
         11      Q. 64821 means on the ground?                     11   different locations.
         12      A. Yes.                                           12      Q. What were the inventory control clerks
         13         MR. MOSER: When we see the third               13   supposed to do according to your instructions?
         14      handwritten number, LOC says "23015."             14      A. Go and check the locations and we need
         15      Q. Do you see that?                               15   to move the product. Put it one location only.
         16      A. Yes.                                           16      Q. Do you know how many cases were moved by
         17      Q. What does the 5 refer to?                      17   members of the Inventory Control Department --
         18      A. The fifth level.                               18   were all of the products moved on the same day.
         19         MR. THORELL: Objection. Are you the            19         MR. THORELL: Objection.
         20      one who wrote the handwriting on this             20      A. I don't know if there was another e-mail
         21      document?                                         21   following up this. Most of my tasks are given
         22         THE WITNESS: No.                               22   from me to them that were on the same day, yes.
         23      BY MR. MOSER:                                     23      Q. If you look towards the bottom here do
         24      Q. Do you know whose handwriting this is?         24   you see where it says from Josie Sajous, PL-1337?
         25      A. Josie's.                                       25      A. Yes.

                                                       Page 86                                                   Page 88
          1                  Suarez                                 1                  Suarez
          2      Q. Would the 5 mean the fifth rack from the        2     Q. Was that e-mail from Josie to you?
          3   floor?                                                3         MR. THORELL: Objection.
          4      A. Yes.                                            4     A. Yes, that means everything was done.
          5      Q. Would she have to use some type of              5     Q. She was referring to locations 69442 to
          6   equipment to get up that high?                        6   85020?
          7      A. Not for this location.                          7         MR. THORELL: Objection.
          8      Q. How would she get up there for this             8     A. Yes.
          9   particular location?                                  9     Q. Do you know how many cases Josie moved
         10      A. 23015 is the bottle room.                      10   pursuant to your instructions?
         11      Q. She will be able to reach the shelf            11         MR. THORELL: Objection.
         12   simply because it is five shelves up to the          12     A. We wouldn't know by this report. I
         13   bottom?                                              13   wouldn't know how many cases were in this location
         14      A. Yes.                                           14   and how many cases were in the other location.
         15         MR. MOSER: Mark this.                          15   Common sense dictates you move things. Fewer
         16         (Plaintiff's Exhibit 29, Document Bates        16   inventory. I wouldn't know by this report.
         17      stamped 1337 through 1339, marked for             17     Q. In addition to moving up to five cases
         18      identification.)                                  18   per location, were inventory control clerks
         19      Q. Just for the record, do you see this           19   required to shift or move cases when examining
         20   document has the number PL-1337 in the upper right   20   palettes to get an accurate count of what was in
         21   hand corner?                                         21   the palette?
         22      A. Yes.                                           22         MR. THORELL: Objection.
         23      Q. The last page is PL-1339?                      23     A. Yes, many times.
         24      A. Yes.                                           24     Q. Was that considered part of the moving
         25      Q. If you look below the third horizontal         25   up to five cases?

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                                                       Page 89                                                  Page 91
          1                  Suarez                                 1                  Suarez
          2         MR. THORELL: Objection.                         2   configuration of the palettes equal.
          3      A. I wouldn't say that.                            3      Q. Have you ever watched a checker count
          4      Q. They were allowed to move up to five            4   product for an incoming shipment?
          5   cases per location, and in addition, they were        5      A. Yes.
          6   required to move or shift cases to determine an       6      Q. Describe for me how that was done.
          7   accurate count of the palette?                        7      A. The machine pulled the palettes from the
          8      A. Yes.                                            8   truck, placed on the receiving dock and the
          9         MR. MANGAN: Objection.                          9   checker goes to the receiving office, gets the
         10      Q. Do you know what was the most number of        10   paperwork, gets the labels, comes back, and checks
         11   cases that Josie ever lifted in a day?               11   the product.
         12         MR. MANGAN: Objection.                         12      Q. When the product needs to be moved or
         13      A. No, I wouldn't know.                           13   shifted, who does that work?
         14      Q. Could it be more than a hundred?               14         MR. MANGAN: Objection.
         15         MR. MANGAN: Objection.                         15      A. I wouldn't know. That happens all the
         16         MR. THORELL: Objection.                        16   time or one time what I seen is that always a
         17      A. I wouldn't know the number for sure.           17   person with a machine moving the palettes, the
         18   She was the person who helped the most on special    18   checker is standing and counting with the papers
         19   projects. So maybe one day she had done that. I      19   and looking at the product, and if they need to
         20   don't know for sure, if she ever did it.             20   reconfigure one palette, another person will shift
         21         MR. MOSER: Mark this.                          21   the cases or work the entire palette all together
         22         (Plaintiff's Exhibit 30, Document Bates        22   in order for the checker to count.
         23      stamped 1785, marked for identification.)         23      Q. Is that person a lumberer?
         24         MR. MOSER: Take a look at what has been        24      A. Yes.
         25      marked Exhibit 30 for identification.             25      Q. Do you think, based upon your

                                                       Page 90                                                  Page 92
          1                  Suarez                                 1                   Suarez
          2         (Whereupon, a document was handed to the        2   observation, the physical demands on the checker
          3      witness.)                                          3   are more than the physical demands on the
          4      Q. Do you know what this form is?                  4   inventory control clerk?
          5      A. Yes.                                            5         MR. THORELL: Objection.
          6      Q. What is this form?                              6         MR. MANGAN: Objection.
          7      A. Blind receiver.                                 7      A. I wouldn't. All the time, or every
          8      Q. What is a blind receiver?                       8   time, or all the checkers work the same. What I
          9      A. That is the documentation printed in the        9   have seen, no. The checkers don't move that much
         10   receiving office and given to the checkers to        10   product. They do have to move on a daily basis.
         11   receive the loads.                                   11      Q. Did Ronnie ever get involved in what
         12      Q. What is the job of the checker with            12   members of the Inventory Control Team could not
         13   regard to completion of this form?                   13   do -- withdrawn.
         14         MR. THORELL: Objection.                        14         MR. THORELL: Objection.
         15      A. Compare the description against the            15         MR. MOSER: Mark this.
         16   product physically in front of them and record the   16         (Plaintiff's Exhibit 31, Document Bates
         17   count.                                               17      stamped 0051, marked for identification.)
         18      Q. Do you recognize any signature on this         18         MR. MOSER: This has been marked in the
         19   document?                                            19      upper right hand corner as PL-0051.
         20      A. Yes, Tatiana's signature.                      20      Q. Do you see that?
         21      Q. Do you know what a lumber is?                  21         (Whereupon, a document was handed to the
         22      A. Yes.                                           22      witness.)
         23      Q. What is a lumber?                              23      A. Yes.
         24      A. Day shift. Move the cases for the              24      Q. What is this document?
         25   checkers in order to count to make the               25      A. It looks like an e-mail from Jennifer to

                                                                                        23 (Pages 89 to 92)
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                                                      Page 93                                                Page 95
          1                  Suarez                               1                   Suarez
          2   me, then I replied to her.                          2          MR. THORELL: Objection.
          3      Q. Does Jennifer answer to Ronnie?               3      A. Instructions from Jerry Dansy (phonetic)
          4          MR. THORELL: Objection.                      4   to me.
          5      A. No, she is the administrative assistant       5      Q. Who was Jerry Dansy?
          6   to John Wilkinson.                                  6      A. My co-worker. His warehouse manager.
          7      Q. Does Jennifer report to Ronnie?               7      Q. Is he a Union or non-Union employee?
          8      A. No.                                           8      A. Non-Union employee.
          9          MR. THORELL: Objection.                      9      Q. It says, "from Jerry." Was that an
         10      Q. If we look at the original message on        10   e-mail Jerry sent to you?
         11   the bottom, was that from Jennifer to you?         11      A. Yes.
         12      A. Yes.                                         12          MR. THORELL: Objection.
         13      Q. September 24th of 2009?                      13      Q. Did Ronnie have the authority to
         14      A. Per this document, yes.                      14   determine whether or not the members of the
         15          MR. MOSER: It says here, "As per            15   Inventory Control Team counted during inventory?
         16      Ronnie, the lunch hour is not to be used        16          MR. THORELL: Objection.
         17      towards the guaranteed overtime."               17          MR. MANGAN: Objection.
         18      Q. Did Ronnie have the authority to             18      A. I wouldn't know how to respond to that
         19   determine how your employees lunch hour would be   19   question. I receive my orders from my boss. If
         20   spent?                                             20   he is copied, I take it that he agrees.
         21          MR. THORELL: Objection.                     21          MR. MOSER: Mark this.
         22          MR. MANGAN: Objection.                      22          (Plaintiff's Exhibit 33, Document Bates
         23      A. I don't know how to respond to that          23      stamped 0054, marked for identification.)
         24   question. My boss is John Wilkinson. Ronnie has    24      Q. Do you recognize this document -- is it
         25   a lot to say about everybody. Work hours and       25   fair to say the upper right hand corner there is

                                                      Page 94                                                Page 96
          1                  Suarez                               1                 Suarez
          2   everything. I guess because he is the shop          2   the number PL-0054?
          3   steward.                                            3         (Whereupon, a document was handed to the
          4      Q. Is it fair to say when you received this      4     witness.)
          5   message, you took it not as a direction from        5         MR. THORELL: Objection.
          6   Ronnie, but as a direction from John Wilkinson      6     A. Yes.
          7   that you should follow?                             7     Q. Do you recognize this document?
          8         MR. THORELL: Objection.                       8     A. Yes.
          9      A. I would say yes, because he is copied on      9     Q. What is this document?
         10   the e-mail.                                        10     A. She is asking for all our job
         11      Q. Do you know if John Wilkinson took his       11   descriptions.
         12   direction from Ronnie?                             12     Q. She is Jennifer Moore?
         13         MR. THORELL: Objection.                      13     A. Yes.
         14      A. I don't know.                                14     Q. Who is Jennifer?
         15         MR. MOSER: Mark this.                        15     A. The administrative assistant to John
         16         (Plaintiff's Exhibit 32, Document Bates      16   Wilkinson.
         17      stamped 1687, marked for identification.)       17     Q. The warehouse director?
         18         MR. MOSER: We are looking at what has        18     A. Yes.
         19      been marked Exhibit 32. The upper right hand    19     Q. Are there any checkers who received this
         20      corner is PL-1687.                              20   e-mail?
         21         (Whereupon, a document was handed to the     21         MR. THORELL: Objection.
         22      witness.)                                       22     A. I don't see any warehouse workers here.
         23      Q. Is that right?                               23     Q. Did any warehousemen receive this
         24      A. Yes.                                         24   e-mail?
         25      Q. What is this document?                       25         MR. THORELL: Objection.

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                                                       Page 97                                                Page 99
          1                  Suarez                                 1                  Suarez
          2      A. I don't recognize any warehousemen here.        2      A. I wouldn't know for sure. I had the
          3   No, all of these are warehouse workers but not        3   computer accident at that time. Like I had a
          4   warehouse Union men.                                  4   computer accident last week.
          5         MR. MOSER: Nothing further about that           5         MR. MOSER: The unfortunate computer
          6      particular document.                               6      accidents. They happen less now than they
          7      Q. At some point, did Southern attempt to          7      did in the past thankfully.
          8   modernize its inventory by using RF scanners?         8      Q. Is there a policy that e-mails are
          9      A. Yes.                                            9   automatically deleted after six months?
         10      Q. When was that?                                 10      A. Yes, now I think they expanded that to
         11      A. If I remember correctly we started using       11   nine months, but I am not sure. At that point,
         12   RF counts in 2010, but I could be mistaken.          12   six months.
         13      Q. What is an RF ID?                              13      Q. Do you have any e-mails from 2013?
         14      A. A user ID to log into the RF scanner.          14      A. No.
         15      Q. Do you have to be issued and RF ID in          15      Q. Do you know whether anyone saved your
         16   order to be able to use the RF scanner gun?          16   e-mails from 2013?
         17      A. Yes.                                           17      A. They are supposed to be saved in the
         18      Q. Were warehousemen issued RF IDs?               18   server.
         19         MR. THORELL: Objection.                        19      Q. When they are deleted, they are only
         20      A. Yes.                                           20   deleted on your computer?
         21      Q. Did you issue the RF IDs to                    21      A. Yes.
         22   warehousemen?                                        22      Q. Did you search for any documents with
         23      A. I sent the list of all RF users to IT.         23   regard to this case?
         24      Q. Other than warehousemen, was anyone else       24         MR. THORELL: Objection.
         25   issued an RF ID?                                     25      A. I don't believe so. I don't remember.
                                                       Page 98                                              Page 100
          1                  Suarez                                 1                 Suarez
          2          MR. THORELL: Objection.                        2      Q. Did anyone ask you to search for
          3      A. Yes, inventory control clerks.                  3   documents regarding this case?
          4      Q. Is it fair to say that the RF gun as you        4      A. Nobody spoke to me about this case.
          5   call it can only be used in the warehouse?            5   Only Keith.
          6      A. Yes.                                            6      Q. Did you, in fact, search for any
          7          MR. THORELL: Objection.                        7   documents concerning this case?
          8          MR. MOSER: I am going to draw your             8      A. I don't remember doing so, no.
          9      attention to 2013.                                 9         MR. MOSER: Nothing further to the
         10      Q. When did you find out that Josie first         10      extent Mr. Mangan has any questions. I
         11   filed a complaint?                                   11      reserve my right to reopen.
         12      A. I think I received notification from HR        12         MR. MANGAN: No questions.
         13   that I need to attend the interview with             13         MR. MOSER: Then, I am going to close
         14   Ms. Selena.                                          14      with a couple of more. Let's take a break.
         15      Q. Ms. Seabrooks?                                 15         (Whereupon, a break was taken off the
         16      A. Yes.                                           16     record.)
         17      Q. That was before Josie resigned; right?         17              (Back on the record.)
         18      A. Yes.                                           18      Q. If a checker made a mistake when he was
         19      Q. Did you ever get an e-mail or                  19   counting a particular incoming shipment, what
         20   notification that told you to preserve any e-mails   20   would be the consequence to inventory?
         21   or documents?                                        21         MR. THORELL: Objection.
         22      A. No.                                            22         MR. MANGAN: Objection.
         23      Q. Do you know whether there were any             23      A. Inventory becomes not accurate.
         24   e-mails on your computer at the time you learned     24      Q. If an inventory control clerk went to a
         25   of the complaint that have been deleted?             25   particular location and incorrectly counted the

                                                                                     25 (Pages 97 to 100)
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                                                     Page 101                                                   Page 103
          1                  Suarez                                 1                   Suarez
          2   inventory that was at that particular location,       2      Q. What does she do?
          3   what would be the consequences for inventory?         3      A. She is administrative assistant at an
          4      A. The same inventory would become not             4   attorney's office.
          5   accurate.                                             5      Q. It is not my office?
          6      Q. Was the purpose of the checker to verify        6      A. No.
          7   inventory?                                            7         MR. MOSER: I just want to thank you for
          8         MR. THORELL: Objection.                         8      taking time and showing up here today. I
          9      A. Upcoming inventory.                             9      know it is never an east situation when you
         10         MR. THORELL: Objection.                        10      are called upon to testify under oath in a
         11      Q. Was the purpose of the inventory control       11      case against your employer. I appreciate
         12   clerks to verify inventory that had already been     12      your effort and time. Thank you.
         13   received in Southern Wine and Spirits?               13         THE WITNESS: Thank you.
         14         MR. THORELL: Objection.                        14         THE REPORTER: Who would like a copy of
         15      A. Yes.                                           15      the transcript?
         16      Q. Do you have an opinion as to which job         16         MR. MOSER: I would.
         17   had more responsibility associated with the job of   17         MR. THORELL: I would.
         18   checker or inventory control clerk?                  18         MR. MANGAN: I would.
         19         MR. THORELL: Objection.                        19
         20         MR. MANGAN: Objection.                         20            (Time noted: 1:34 p.m.)
         21      A. Not really. I never thought about who          21
         22   has more responsibility.                             22
         23      Q. Is it fair to say if either one did not        23
         24   perform their job correctly, the consequence would   24
         25   be the same? Inaccurate inventory.                   25

                                                     Page 102                                                   Page 104
          1                 Suarez                                  1
          2         MR. THORELL: Objection.                         2           ACKNOWLEDGMENT
          3     A. Yes.                                             3
                                                                    4    STATE OF NEW YORK )
          4         MR. MOSER: I didn't ask these questions
                                                                                  :ss
          5     earlier on. I will ask them now.                    5    COUNTY OF __________)
          6     Q. What is your highest level of education?         6
          7     A. I have a Bachelor's Degree in Economics.         7            I, MARIA SUAREZ, hereby certify that I
          8     Q. Where do you live? I don't need the              8    have read the transcript of my testimony taken
          9   specific address.                                     9    under oath in my deposition of October 7, 2016
                                                                   10    that the transcript is a true, complete and
         10     A. On Long Island.
                                                                   11    correct record of my testimony, and that the
         11     Q. Do you know how many members are in your        12    answers on the record as given by me are true and
         12   household?                                           13    correct.
         13     A. This time, five.                                14
         14     Q. Who are they?                                   15
         15     A. My sister, my two nieces, my grand niece        16
                                                                   17                _______________________
         16   and I.
                                                                   18
         17     Q. Do the members of your immediate                19                    MARIA SUAREZ
         18   household financially depend on you?                 20
         19     A. Yes.                                            21
         20     Q. Does any other member of your immediate         22
         21   household have a full-time job?                            Signed and subscribed to before
         22         MR. THORELL: Objection.
                                                                   23    me, this       day
                                                                         of            , 2016.
         23     A. Yes.                                            24
         24     Q. Who is that?                                          ________________________________
         25     A. One niece.                                      25    Notary Public, State of New York

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                MR. MOSER
           4
           5            EXHIBITS MARKED FOR IDENTIFICATION
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                                                  Page Line
          22
                NONE--------------------------------------------
          23
          24
          25

                                                                   Page 106
          1
          2
          3                CER TIFIC ATE
          4          STATE OF NEW YORK )
          5                    ) ss.:
          6          COUNTY OF SUFFOLK)
          7
          8                   I, ROBERT S. BARLETTA, a Notary
          9          Public within and for the State of New York, do
         10          hereby certify:
         11                  That MARIA SUAREZ, the witness whose
         12          deposition is hereinbefore set forth, was duly
         13          sworn by me and that such deposition is a true
         14          record of the testimony given by such witness.
         15                  I further certify that I am not
         16          related to any of the parties to this action by
         17          blood or marriage; and that I am in no way
         18          interested in the outcome of this matter.
         19                  IN WITNESS WHEREOF, I have hereunto
         20          set my hand this 7th day of October, 2016.
         21
         22
         23                           --------------------------
         24                              ROBERT S. BARLETTA
         25

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